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   In re:
                                                               Chapter 11
   LTL MANAGEMENT LLC,
                                                               Case No.: 21-30589 (MBK)
                              Debtor.
                                                               Honorable Michael B. Kaplan

  CERTIFICATE OF CONSENT REGARDING JOINT STIPULATION AND AGREED ORDER
   BETWEEN MOVANTS AND DEBTOR REGARDING THE ADMISSION OF DEPOSITION
                 DESIGNATIONS AT MOTION TO DISMISS TRIAL

          I certify that with respect to the proposed Joint Stipulation and Agreed Order Between Movants
 and Debtor Regarding the Admission of Deposition Designations at Motion to Dismiss Trial
 (the “Stipulation”), the following conditions have been met:

            (a) The terms of the Stipulation are identical to those set forth in the original Stipulation;
            (b)    The signatures represented by the /s/ Arthur J. Abramowitz, Daniel Stolz,
            Paul DeFilippo, Colin Robinson, and Paul J. Winterhalter on the Stipulation reference the
            signatures of consenting parties obtained on the original Stipulation;
            (c) I will retain the original Stipulation for a period of 7 years from the date of closing of the
            case or adversary proceeding.
            (d) I will make the original Stipulation available for inspection on request of the Court or any
            party in interest; and

 ☐ (e) If submitting the consent order and this certification to the Court conventionally, I acknowledge
 the signing of same for all purposes, including those under Fed. R. Bankr. P. 9011 (sign certification in
 pen and ink and the Court will scan);

 ☒ (e) If submitting the consent order and this certification to the Court electronically via the presiding
 judge’s e mail box, as a registered Participant of the Court’s Case Management/ Electronic Files
 (CM/ECF) System, I will simultaneously electronically file this certification with the Court, by use of my
 login and password, thereby signing same for all purposes including those under Fed. R. Bankr. P 9011.



 Dated: February 18, 2022                                      /s/ Arthur J. Abramowitz
                                                               Signature of Attorney




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